            IN THE DISTRICT COURT OF THE UNITED STATES
           FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        ASHEVILLE DIVISION
                             1:17 cr 143-3


UNITED STATES OF AMERICA,              )
                                       )
      v.                               )                     ORDER
                                       )
KASEY LYNN KEFFER.                     )
                                       )
______________________________________ )

      This matter came before the Court at a detention hearing held after a Rule 11

proceeding on January 22, 2018. The Court was presented with the issue of whether

Defendant should continue to be detained pursuant to 18 U.S.C. § 3143(a)(2).

Defendant requested a detention hearing and to be released while awaiting

sentencing, pursuant to 18 U.S.C. 3145(c). Defendant was present with her attorney,

Renae Alt-Summers, and the Government was present and represented by AUSA

Justin Isaac Eason. After hearing arguments and reviewing the record, the Court

makes the following findings.

      Findings.    On October 30, 2017, the Government filed a criminal complaint

and the Court issued an arrest warrant for Defendant and two co-defendants. On the

same day, all three defendants were arrested. On November 1, 2017, the Court held

a detention hearing as to Defendant and issued an Order of Detention [# 15]. On

November 14, 2017, the grand jury returned a bill of indictment charging Defendant

with aiding and abetting armed robbery of an Indian, in violation of 18 U.S.C. §§


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2111, 2, and 1152; and kidnapping of an Indian, in violation of 18 U.S.C. §§

1201(a)(2), 2, and 1152. On January 9, 2018, Defendant and the Government

entered into a plea agreement [# 44]. On January 16, 2018, Defendant asked to

continue her plea hearing until January 22, 2018, and to have a detention hearing

following [# 45]. On January 22, 2018, the Court held a plea hearing and Defendant

pled guilty to aiding and abetting armed robbery of an Indian, in violation of 18

U.S.C. §§ 2111, 2, and 1152 [# 46].

      At the close of the plea hearing, the Court held a detention hearing regarding

the release of Defendant into a treatment facility. Defendant was on a waiting list

for Swain Recovery Center for a forty-two day in-patient program, with a bed

available on January 24, 2018 [# 45]. The Court stated that Defendant had just pled

guilty to a violent crime that would require exceptional reasons for release.

Defendant’s counsel stated that Defendant has a desire to rehabilitate herself and has

only one leg, using a prosthesis to ambulate.

      Discussion. Defendant’s motion is based upon 18 U.S.C. § 3145(c):

       (c) Appeal from a release or detention order.—

      An appeal from a release or detention order, or from a decision denying
      revocation or amendment of such an order, is governed by the provisions of
      section 1291 of title 28 and section 3731 of this title. The appeal shall be
      determined promptly. A person subject to detention pursuant to section
      3143(a)(2) or (b)(2), and who meets the conditions of release set forth in
      section 3143(a)(1) or (b)(1), may be ordered released, under appropriate
      conditions, by the judicial officer, if it is clearly shown that there are
      exceptional reasons why such person’s detention would not be appropriate.



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       In October 2009, District Judge Reidinger assigned to this Court the task of

conducting exceptional reason determinations in criminal matters pending in this

district.   Judge Reidinger defined ‘exceptional reasons’ in United States

v.Vilaiphone, No. 3:08-cr-232, 2009 WL 412958 (W.D.N.C. Feb. 19, 2009).

       Courts generally have defined “exceptional reasons” as circumstances which
       are “clearly out of the ordinary, uncommon, or rare.” See United States v.
       Larue, 478 F.3d 924, 926 (8th Cir. 2007) (finding defendant's compliance
       with terms of pretrial release, lack of criminal record, payment of child
       support, and continued employment were not exceptional reasons warranting
       release); United States v. Lea, 360 F.3d 401, 403 (2d Cir. 2004)
       (“Exceptional circumstances exist where there is ‘a unique combination of
       circumstances giving rise to situations that are out of the ordinary.’”). The
       fact that the Defendant has cooperated with the Government and has
       complied with the terms and conditions of his pretrial release do not
       constitute exceptional reasons warranting his continued release pending
       sentencing. See United States v. Little, 485 F.3d 1210, 1211 (8th Cir. 2007)
       (“It is not exceptional to expect every defendant to timely appear in court and
       to obey the court's order concerning pretrial conditions of release. Nor it is
       clearly out of the ordinary, uncommon or rare for defendants to cooperate in
       the investigation of their criminal acts.”). Similarly, the Defendant's lack of
       a significant criminal history and his gainful employment, while
       commendable, do not rise to the level of “exceptional reasons.” See Lea, 360
       F.3d at 403–04 (“There is nothing ‘exceptional about going to school, being
       employed, or being a first-time offender, either separately or in
       combination.”). Finally, while the Court is cognizant of the hardships that
       the Defendant's detention will create for his immediate family, such
       hardships are common to nearly every case involving a term of imprisonment
       and thus do not qualify as “exceptional reasons” under § 3145(c). See United
       States v. Garcia, 340 F.3d 1013, 1022 (9th Cir. 2003) (“Hardships that
       commonly result from imprisonment do not meet the standard.”); United
       States v. Mahabir, 858 F. Supp. 504, 508 (D. Md. 1994) (“A defendant's
       incarceration regularly creates difficulties for him and his family. Courts
       have found that such purely personal considerations do not constitute
       exceptional reasons within the meaning of Section 3145(c).”).

Id. at *2 (internal citations omitted). See also U.S. v. Norvell, 729 F.3d 788, 791–




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92, 796 (8th Cir. 2013) (finding that a district court did not abuse its discretion by

determining that “[a]lthough laudable, the desire to seek treatment and rehabilitate

oneself is not “‘clearly out of the ordinary, uncommon, or rare.’”)

      The Court does not find exceptional reasons exist in this case. While the Court

finds it is laudable for defendants to seek treatment and rehabilitate themselves, it

can hardly been seen as uncommon or rare, and therefore it is not an exceptional

reason for release. Additionally, Defendant failed to make a connection between her

condition of having one leg and how that itself is an exceptional reason or how it

relates to an exceptional reason for release.

                                      ORDER

      IT IS, THEREFORE, ORDERED, that Defendant’s motion for release is

DENIED. Defendant shall remain detained pending sentencing.


                                      Signed: January 23, 2018




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